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                         IN THE I I N I T I I ) STATES OlSTRICT COU1RT
                             FOR THE DiSTMfCT Of COLUMBIA




 UNITEP STATES OF AMERICA                       ;   Cwe Noi 2 t»CR-36l




 ANDREW MICHAEL CAVANAUGH                       :




                                 STATEMENT OF QFFExNSE


         Pwsiiaiit to Federal Ruie of Crkninal Procedure 11, the United States of America, by and

thrcagh its attomey, the United States Attorney for the District of Colimibia, aad the defendant,

ANDREW MICHAEL CWANAUGHj, ^-rith the concuneace ofhis attomey, agree and stipulate

to the bdow factual basis forthe defentknt's gtdlty plea—that is, i f this case were to proceed to

trial, the parties stipulate that the Uaited States could prove the below facts beyond a reasonable

ioiibt

                         The Attack ai the U.S, Capitol on Jammry- 6,. 2021

         1.      The U.S. Capitol, which is located at First Street, SE, in. Washington, D.C, is

secured 24 hours a day by U.S. Capitol PoHce. Restriettons aroitud the U.S. Capitol .include

pcrmaneia and temporary securityfcarriersand posts manned by U.S. Capitol Police. Only

autiboriad people with appropriate identification arc allowed access iaside the U.S. Capitol.

         2,      On January 6.2021, the exterior plas:a ofthe U.S* Capitol, was clc«ed to aieuibers

of the public.                               Page i of S
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              electedr r " S •«     tH   Ipf.v   "^'^^   v   H«»W<.C'^f   R\j . v^c ^ e « v t i I l k ^ ? fed St^ias

fc-xgic           erc-.sS4f?g i'n « | » r « £ ctemK-« ,>fi,k               Staler G-^fsi^il I© c«ftif>' iie w i « c « i » t

 0f i%£              Cr;JJ«g« »?f      2?,520 Pi?*5iie«{?J Ek-ciiOT. uiiicli hsd taken place m                 fimxmMt

3 . 2 i B . H e j«r.          . n bca^fi it ipiroxiaigtely I :«i p.fB. Shortly itercsicr. by

Sftfs-esssMcly i-.M p . « . j (be limix tiid Sefiaic adjoiirwi to ssfwatt chaiiibers to r«ol¥e 3.

pamciiar ciijeciim. Vice P r s i i ' t t l Miicc P « e was prexsi aad presiiiag, i i s l io Ae j d a t

s « 8 « L aad tiim io iim -Seaale ci,SB,ber„

          4         As ite pocsafiags cortittued is i»th tbe House and the Senate, and m-ith Vice

Pteidait Pence fweseai aad fHesidiiig over the Senate, a large cro¥/d gafiiered oniside the U.S.

CHpttol As sated siw^e, lempoiwy and peonanent banicades were in place around the exterior

af lhe US. Capifol bisidiog, and U.S. Capitol Police were present and attempting to keep the

cmwd away from fee Ckpltol kiilifing and the proceedings nndemay inside.

          5,       A t approxijn,Mely 2; 00 p.iii., ceitain indi-vidnals ia the crowd forced their way

t l i r w i ^ vp, and over tte tarricades, and officers of the U.S. Capitol Police, and the crowd

adyaoced to tht txtmm          fa$ade of the buifding. The crowd v/as not la-Rifully authorized to enter

or remaia in the tmilding as4 prior to entering the building, no membei-s ofthe crowd submitted

i» mxmitfmmmiB^             or weapons checks by U.S. Capitol Police Officers or otlier authorized

security o f f M s .

          &        A i aicb time, the certification proceedings were still underway and the exterior

dmmmi          wiadowg af th,e U,S. Capitol were locked or otherwise secured. Members of the U*S>

Capifel Police attempted to maintain order and keep the crowd from entering the Capitol;



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however, shortly after 2:00 pjn., individuals in the crowd forced cnhy into tJw U.S. Capitol,

includiiag by breaking windows and by a.s.sauHiiig mcmberfi of law enforcement, as others in tbe

crowd encouraged and assisted those acts. The riot resulted iti substantial damage to the US,

Capitol, requiring the cxpctiditure of more than $1.4 million dollars for repairs,

        1.     Shortly tliereafter, at appi'oximately 2:20 p.m,, mejnber.i of the United States

House of Representatives and United States Senate, including the President ofthe Senate, Vice

Prc^deait Pence, were insbructed to—and did—evacuate the chamber."?. Accordingly, all

proceedings ofthe Uniled States Congress, including the joint session, were effectively

suspended until shortly after 8:00 p.m, the same day. In light ofthe dangerous circumstances

caased by the unlaunFul entiy to the U.S. Capitol, including the danger poaed by individuals who

had entered the U,S. Capitol without any security screening or weapons check, Congressional

proceedings could not resume until after every unauthorized occupant had left the U.S. Capitol,

and the building had been confirmed secured. The proceedings resumed at approximately 8:00

p.m. after the building had been secured. Vice President Pence remained in the United States

Capitol from the time he was evacuated from the Senate Chamber until the session resumed.


                Cavanaugh^sParticipation in the January 6, 2021, Capitol Riot

       8,      The defendant entered the U.S. Capitol on January 6, 2021, at approximately 2:23

p.m, through the Senate Wing Door, located on the West Side ofthe Capitol Building, The

defendant made his way to the Capitol Ciypt at approximately 2:34 pm. Shortly thereafter, the

defendant walked through the Capitol Rotunda before exiting the building,

       9,     Prior to the defendant's cntiy into the U,S. Capitol, the defendant—a veteran of

the United States Marine Corps—recognized tlmt police had set up a perimeter to guard the

building. The defendant saw rioters ignore and break the perimeter, fighting law enforcement


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officers who were attempting {,o hold Ihc mob back. The dofcndant watched law enforcement

deploy CS gas and used his militaiy (raining to treat riotets' injuries,

        10.     Once inside the Capitol, the defendant saw evidence of rioters' altercations with

Jaw enforcement inside the building. The defendant icnew lie should not have gone inside and

tried to exit quickly.

        11.     The defendant knew at the time he entered the U.S, Capitol Building that that he

did aot have pamission to mttr the building and the defendant paraded, demonstrated, or

picketed.



                                                      Respectfully submitted,


                                                      IVIATTHEW M. GRAVES
                                                      United States Attomey
                                                      D.C. Bar No. 481052


                                              By:            /s/
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                           llglENDMT!S ACKNOWLEDGMENT

        I , Andrew Mtclmel Cavanauglt, have read diis Statement oftlic Offense and have discussed
it with my attoroey. 1 fully understand this Statement ofthe Offense. \ agree and acknowledge by
my signature that this Statement of the Offense is true and accurate. I do tliis voluntarily and of
my omi free will. No ihix'ats have been made to me nor am I under the inlluence of anything that
could imixde my ability to uitderstand this Statement ofthe Offense fully.




                            ATTORNEY'S ACKNOWLEDGMENT

       I have .read this Statement of die Offense and have reviewed it with my client fully, I
concur in my client's desire to adopt this Statement ofthe Offense as trae and accurate.




                                     Attorney for Defendant




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